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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
MELISSA A. BASSETT, Personal        )
Representative of the Estate of     )
Mark Beliveau,                      )
                                    )
              Plaintiff,            )
                                    )               Civil Action No. 22-11127-NMG
                      v.            )
                                    )
TEMPUR RETAIL STORES, LLC,          )
                                    )
              Defendant.            )
____________________________________)


                     ORDER ON PLAINTIFF’S MOTIONS TO COMPEL
                                [Docket Nos. 44, 60]

                                         January 9, 2024

Boal, M.J.

       Plaintiff Melissa A. Bassett, as Personal Representative of the Estate of Mark Beliveau

(“Bassett”), has filed two motions to compel defendant Tempur Retail Stores, LLC (“Tempur”)

to produce certain documents and to answer certain interrogatories. Docket Nos. 44, 60. 1 After

careful consideration of the parties’ submissions, as well as the arguments made at the January 3,

2024 hearing, I rule as follows.

       Documents That Tempur Has Agreed To Produce And For Which It Represents Its

Search Is “Ongoing.” Though it objected to Requests for Production (“RFP”) Nos. 2, 5, 7, 8, 9,

10, 11, 13, 15, 16, 17, 18, 21, 28, and 30, Tempur has now agreed to produce documents



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 Judge Gorton referred the motions to the undersigned on October 10, 2023 and November 27,
2023. Docket Nos. 45, 61.

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responsive to these requests and states that its search for such documents is “ongoing.” See

Docket No. 67 at 7-8. However, the scope of such searches and whether Tempur has withheld

any responsive documents is unclear. See, e.g., Docket No. 60-1 at 5 (stating that it would

conduct a “search reasonably limited in time and scope”). In addition, this Court notes that

Bassett served her discovery requests in February 2023 and Tempur served its written response

on March 20, 2023, almost nine months ago. Therefore, it is too late for Tempur’s search for

responsive documents to continue to be “ongoing.”

       Accordingly, this Court orders Tempur to complete its production of documents

responsive to these requests within two weeks. In addition, for each of these requests, Tempur

shall file a statement indicating the scope of the search (i.e., what custodians and/or locations

were searched; how the searches were conducted; what keywords were searched; the time period

covered by the searches; etc.); whether any documents were withheld; and, if no responsive

documents were found, state so. Such statement shall be filed within three weeks of the date of

this order. Bassett shall have two weeks after the filing of such a statement to determine whether

to file a further motion to compel seeking specific documents she believes Tempur should have

searched for and produced but did not.

       Documents Concerning Mark Beliveau’s Cancer Diagnosis Or Treatment. RFP No. 6

seeks “[a]ll documents, including ESI, concerning Mark Beliveau’s cancer diagnosis or

treatment.” Docket No. 60-1 at 7. To the extent that Tempur argues that this request does not

seek relevant information, this Court disagrees. Contrary to Tempur’s arguments, Bassett does

allege that the cost of Beliveau’s cancer treatment was a factor in his termination. See

Complaint at ¶¶ 47-58. As drafted, however, this request is overly broad. Tempur represents

that it has searched Beliveau’s “managerial line and supporting human resources personnel” for



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responsive documents. Docket No. 67 at 8. Again, the scope of Tempur’s search for responsive

documents is not clear. Accordingly, Tempur shall include RFP No. 6 in the statement regarding

the scope of its search for responsive documents referenced above.

       Documents Concerning Health, Disability, And Life Insurance Costs. RFP Nos. 19, 20,

and 26 request certain documents concerning Tempur’s health, disability, and life insurance

costs. While Bassett argues that Beliveau was terminated partly because of the costs of his

cancer treatment, these requests are overly broad and not proportional to the needs of the case.

Accordingly, I deny the motion with respect to RFP Nos. 19, 20, and 26.

       Tempur’s Policies And Procedures Concerning Customer Complaints. RFP No. 29 seeks

Tempur’s “policies and procedures in effect from 2017-2019 concerning responding to

complaints or negative reviews and postings from customers of retail stores.” Docket No. 60-1

at 24. Bassett seeks an order compelling Tempur to produce documents responsive to this

request, including training materials for new employees and customer care documents. Docket

No. 60 at 18. Tempur argues that training materials and customer care documents are not

responsive to this request because they do not relate to the manner in which store managers, such

as Beliveau, are required to respond to customer complaints. Docket No. 67 at 10. This Court

disagrees. Tempur must produce such documents.

       At oral argument, Tempur represented that, other than new employee training materials

and customer care documents, it has not found any other responsive documents. It appears

unlikely that Tempur does not have any formal customer complaint policies. Accordingly,

Tempur shall also indicate the scope of its search for documents responsive to RFP No. 29.

       RFP No. 22. RFP No. 22 sought the personnel record for any retail store manager or

assistant manager terminated by defendant because of customer complaints in 2016-2020.



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Docket No. 60-1 at 20. Bassett agreed to narrow this request to the initials of such managers, the

region in which they worked, and the documents regarding the customer complaints that served

as the basis for their termination. See Docket No. 44 at 3. This Court finds that Bassett’s

narrowed request seeks relevant and discoverable information. Accordingly, Tempur shall

produce such documents.

       RFP No. 23. RFP No. 23 seeks the personnel record for Matt Marcus, Jim Brovelli,

Jonathan Greene, Deanna Thomas, and Sharon Sullivan. Bassett later agreed to narrow this

request to the disciplinary records of Marcus, Brovelli, Greene, and Sullivan and the personnel

record of Thomas. Docket No. 57 at 2. Tempur agreed to search for and produce the

disciplinary records of Marcus, Brovelli, Greene, and Sullivan. Id. However, Tempur

subsequently appeared to renege on that agreement. See Docket No. 67 at 12. After

consideration of the parties’ arguments, this Court finds that Bassett’s narrowed request is

appropriate. Accordingly, Tempur shall produce the disciplinary records of Marcus, Brovelli,

Greene, and Sullivan. It shall also produce the personnel record of Thomas but may redact

personally identifiable information such as social security number, birth date, and the like and

need not produce information regarding her benefits.

       RFP No. 24. RFP No. 24 seeks documents concerning customer complaints directed to

Defendants’ employees in Massachusetts for the time period 2017-2020. Docket No. 60-1 at 20.

This request seeks discoverable information. Accordingly, Tempur shall produce documents

responsive to this request.

       Interrogatories Nos. 3 And 4. Finally, Bassett seeks an order compelling Tempur to

serve supplemental answers to Interrogatory Nos. 3 and 4. This Court finds that Tempur has

sufficiently answered Interrogatory No. 3. Interrogatory No. 4 seeks irrelevant information.



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Tempur shall produce any documents compelled by this order within two weeks.

So Ordered.

                                            /s/ Jennifer C. Boal
                                          JENNIFER C. BOAL
                                          U.S. MAGISTRATE JUDGE




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